Case 1:17-cr-00101-LEK Document 853 Filed 02/02/20 Page 1 of 2              PageID #: 7473




                                MINUTE ORDER



 CASE NUMBER:            CRIMINAL NO. 17-00101(01) LEK
 CASE NAME:              United States v. Anthony T. Williams


       JUDGE:      Leslie E. Kobayashi

       DATE:       02/01/2020


COURT ACTION: EO: COURT ORDER DENYING “DEFENDANT’S ‘SWORN
MOTION FOR STIPULATION OF FACTS AND EVIDENCE NOT DISPUTED BY
THE GOVERNMENT NOR PRIVATE ATTORNEY’”

       On January 23, 2020, pro se Defendant Anthony T. Williams (“Defendant”) filed
“Defendant’s ‘Sworn Motion for Stipulation of Facts and Evidence Not Disputed by the
Government nor Private Attorney’” (“Motion”). [Dkt. no. 797.] The Court finds that the
Motion is suitable for disposition without a hearing, pursuant to Local Rule 7.1(c). In the
Motion, Defendant makes twenty-five statements that he represents “are true, correct and
complete to the best of [his] knowledge, information and belief.” [Motion, Decl. of
Counsel, Exh. A at 1.] Defendant asserts “[t]hese facts and evidence are undisputed and
therefore are agreed to be stipulated as having been conclusively proven.” [Id. at 2.]

        A stipulation is “[a] voluntary agreement between opposing parties concerning
some relevant point; esp., an agreement relating to a proceeding, made by attorneys
representing adverse parties to the proceeding.” Black’s Law Dictionary (11th ed. 2019)
(emphasis added). Defendant has not presented any evidence that Plaintiff the United
States of America (“the Government”) voluntarily agreed to the twenty-five statements
listed in the Motion. To the extent that Defendant’s Motion is a proposal that the parties
stipulate to the twenty-five statements, the Government did not respond to the Motion.
Because the Government and Defendant never reached an agreement regarding the
twenty-five statements in the Motion, none of the statements are stipulated to.
Defendant’s Motion is therefore DENIED.

      If Defendant wishes to rely on the statements listed in the Motion, he must present
admissible evidence establishing each statement at trial. The Court emphasizes that it
Case 1:17-cr-00101-LEK Document 853 Filed 02/02/20 Page 2 of 2            PageID #: 7474




makes no findings or conclusions at this time regarding whether or not evidence
regarding any of the statements listed in the Motion would be admissible.

      IT IS SO ORDERED.

Submitted by: Theresa Lam, Courtroom Manager
